           Case 1:24-bk-10646-MB                    Doc 56 Filed 04/26/24 Entered 04/26/24 09:46:00                                     Desc
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Fill in this information to identify the case:

Debtor name         Synapse Financial Technologies, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)     1:24-bk-10646-MB
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 26, 2024                  X
                                                             Signature of individual signing on behalf of debtor

                                                             Sankaet Pathak
                                                             Printed name

                                                             Chief Executive Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name          Synapse Financial Technologies, Inc.

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)              1:24-bk-10646-MB
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Silcon Valley Bank, a
2.1                                                                                                                   $1,513,472.83                 Unknown
       division of                                  Describe debtor's property that is subject to a lien
       Creditor's Name                              All personal property of the Debtor, other
       First-Citizens Bank & Trust                  than intellectual property
       Company
       1437 7th Street, Suite 300
       Santa Monica, CA 90401
       Creditor's mailing address                   Describe the lien
                                                    UCC Financing Statement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       February 19, 2021                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    TriplePoint Capital LLC                      Describe debtor's property that is subject to a lien              $7,199,624.29                 Unknown
       Creditor's Name                              Claim amount based on payoff by May 6,
       2755 Sand Hill Rd.                           2024. Claim secured by lien upon all
       Suite 150                                    personal property of the Debtor.
       Menlo Park, CA 94025
       Creditor's mailing address                   Describe the lien
                                                    UCC Financing Statement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       July 29, 2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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Debtor      Synapse Financial Technologies, Inc.                                                 Case number (if known)
            Name

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
       No                                        Contingent
       Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative    Disputed
      priority.




                                                                                                                          $8,713,097.1
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      2

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        Synapse Financial Technologies, Inc.

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)          1:24-bk-10646-MB
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown          Unknown
          Certain Employees of the Debtor                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Potential claims pursuant to Pre-petition
                                                              Retention Agreements dated on or about
                                                              October 25, 2023 totaling approximately $1.7
          October 25, 2023                                    million
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $10,638.43         $10,638.43
          Derek Drennan                                       Check all that apply.
          3033 Rosedale Avenue                                 Contingent
          Dallas, TX 75205                                     Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Wages and Related Employee Claims
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 21
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Debtor      Synapse Financial Technologies, Inc.                                                      Case number (if known)
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,481.74    $10,481.74
          Jack Doan                                          Check all that apply.
          321 Ski Way #27                                     Contingent
          Incline Village, NV 89451                           Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Wages and Related Employee Claims
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,456.16    $11,456.16
          Jillana Downing                                    Check all that apply.
          620 Canyon Rd.                                      Contingent
          Redwood City                                        Unliquidated
          Redwood City, CA 94062                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Wages and Related Employee Claims
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,117.38    $10,117.38
          Kathleen Fitzpatrick                               Check all that apply.
          1 Ajax Place                                        Contingent
          Berkeley, CA 94708                                  Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Wages and Related Employee Claims
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $14,571.09    $14,571.09
          Sankaet Pathak                                     Check all that apply.
          275 Maywood Drive                                   Contingent
          San Francisco, CA 94127                             Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             Wages and Related Employee Claims
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 21
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             Name

2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $10,584.75    $10,584.75
          Tracey Guerin                                        Check all that apply.
          320 Miller Ct.                                        Contingent
          Orinda, CA 94563                                      Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Wages and Related Employee Claims
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $261,509.36
          Amazon Web Services, Inc.                                           Contingent
          PO Box 84023                                                        Unliquidated
          Seattle, WA 98124-8423                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $38,080.00
          Aprio, LLP                                                          Contingent
          201 North Civic Drive, Suite 220                                    Unliquidated
          Walnut Creek, CA 94596                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,250.02
          Arktouros PLLC                                                      Contingent
          1717 N Street Northwest, Suite 1                                    Unliquidated
          Washington DC, DC 20036                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,918.39
          Arroweye Solutions Inc.                                             Contingent
          2470 Paseo Verde Parkway Suite 135,                                 Unliquidated
          Henderson, NV 89074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Ask Benjamin, Inc                                                   Contingent
          2055 Market Street                                                  Unliquidated
          San Francisco, CA 94114                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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Debtor      Synapse Financial Technologies, Inc.                                            Case number (if known)
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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16.92
         ATM National, LLC                                          Contingent
         PO Box 4346, Dept 364                                      Unliquidated
         Houston, TX 77210-4346                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Atmos Financial, Inc                                       Contingent
         2222 Harold Way, Suite CW509                               Unliquidated
         Berkeley, CA 94704                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,004.00
         BairdHolm, LLP                                             Contingent
         1700 Farnam St, Ste 1500                                   Unliquidated
         Omaha, NE 68102                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,066.50
         Ballard Spahr, LLP                                         Contingent
         1909 K Street, Nw 12Th Floor                               Unliquidated
         Washington, DC, DC 20006                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $40,555.00
         BDO USA, LLP                                               Contingent
         PO Box 677973                                              Unliquidated
         Dallas, TX 75267                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $141,917.07
         Bergeson LLP                                               Contingent
         111 Market Street, Suite 600                               Unliquidated
         San Jose, CA 95113                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Brightside Benefit, Inc                                    Contingent
         55 N Arizona Pl, Ste 200                                   Unliquidated
         Chandler, AZ 85225                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,090.00
         Business Wire, Inc                                         Contingent
         101 California Street 20th Floor                           Unliquidated
         San Francisco, CA 94111                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,720.00
         Cactil LLC                                                 Contingent
         1441 Broadway 3rd floor                                    Unliquidated
         New York, NY 10018                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Cadre Cash, LLC                                            Contingent
         295 Lafayette Street, Suite 500                            Unliquidated
         New York, NY 10012                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,388.80
         Capital J Inc                                              Contingent
         1390 Market Street, Suite 200                              Unliquidated
         San Francisco, CA 94102                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         ChangeEd, Inc                                              Contingent
         222 W. Merchandise Mart Plaza, Suite 121                   Unliquidated
         Chicago, IL 60654                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Chapman and Culter LLP                                     Contingent
         320 South Canal Street Floor 27                            Unliquidated
         Chicago, IL 60606                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: For Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37.00
         Checkr, Inc                                                Contingent
         One Montgomery St Suite 2000                               Unliquidated
         San Francisco, CA 94104                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $42,000.00
         Cobalt Labs, Inc                                           Contingent
         575 Market St. Fl 4                                        Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $24,294.09
         Datadog, Inc.                                              Contingent
         620 8th Avenue Floor 45                                    Unliquidated
         New York, NY 10018-1741                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $29,549.62
         Datasite, LLC                                              Contingent
         733 S. Marquette Ave, Suite 600                            Unliquidated
         Minneapolis, MN 55402                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $201.75
         Degree, Inc                                                Contingent
         PO Box 207585                                              Unliquidated
         Dallas, TX 75320-7585                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Dexy Co                                                    Contingent
         1500 Bay Rd, 920                                           Unliquidated
         Miami Beach, FL 33139                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $67,892.75
         Digital 365 Main, LLC                                      Contingent
         365 Main Street Suite 1500                                 Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,499.73
         DoiT International USA, Inc                                Contingent
         5201 Great America Pkwy, Suite 320                         Unliquidated
         Santa Clara, CA 95054                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $18,480.00
         Ekata, Inc.                                                Contingent
         1301 5th Ave Suite 1600                                    Unliquidated
         Seattle, WA 98101                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Elevated Principles, Inc                                   Contingent
         2021 Filmore St, 85                                        Unliquidated
         San Francisco, CA 94115                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Evolve Bank & Trust                                        Contingent
         6000 Poplar Avenue                                         Unliquidated
         Suite 300                                                  Disputed
         Memphis, TN 38119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $15,000.00
         Financial Technology Association (FTA)                     Contingent
         PO Box 223302                                              Unliquidated
         Chantilly, VA 20153                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Finnt, Inc                                                 Contingent
         333 S. E. 2nd Avenue, Suite 200                            Unliquidated
         Miami, FL 33131                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $27,500.00
         Fintech Meetup,LLC                                         Contingent
         605 3rd Avenue                                             Unliquidated
         New York, NY 10158                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $157,427.48
         First Horizon Bank                                         Contingent
         4385 Poplar Avenue                                         Unliquidated
         Memphis, TN 38117                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $102,000.00
         Fiserv, Inc                                                Contingent
         Po Box 208457                                              Unliquidated
         Dallas, TX 75320-8457                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $66,333.00
         FlemingMartin, LLC                                         Contingent
         822 Hartz Way Suite 215                                    Unliquidated
         Danville, CA 94526                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Flourish Savings, Inc                                      Contingent
         2261 Market Street, 4466                                   Unliquidated
         San Francisco, CA 94114                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $29.00
         Fraudguard.io                                              Contingent
         12116 Everglades Kite Road                                 Unliquidated
         Brooksville, FL 34614                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $540.00
         Frazier & Deeter, LLC                                      Contingent
         222 2nd Avenue S Suite 1840                                Unliquidated
         Nashville, TN 37201-2308                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Fund That Flip, Inc                                        Contingent
         10 E 23rd Street, 5 floor                                  Unliquidated
         New York, NY 10010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,333.34
         Gattaca Horizons, LLC                                      Contingent
         5903 Ashby Manor Place                                     Unliquidated
         Alexandria, VA 22310                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Glance Capital, Inc                                        Contingent
         651 North Broad Street                                     Unliquidated
         Middletown, DE 19709                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $199,835.10
         Goodwin Procter LLP                                        Contingent
         Three Embarcadero Center                                   Unliquidated
         San Francisco, CA 94111                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Gravy Technologies, Inc.                                   Contingent
         119 S Main Street                                          Unliquidated
         St. Charles, MO 00063-3301                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $73.47
         GravyStack, Inc.                                           Contingent
         1 N. 1st Street, 790                                       Unliquidated
         Phoenix, AZ 85004                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $41,382.84
         Hanson Bridgett LLP                                        Contingent
         425 Market Street, 26th Floor                              Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $14,603.65
         Hatfield, Inc.                                             Contingent
         1112 Bryant Street                                         Unliquidated
         San Francisco, CA 94103                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,613.00
         Hixson Nagatani LLP                                        Contingent
         2021 The Alameda, Ste 240                                  Unliquidated
         San Jose, CA 95126                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Hyve, Inc                                                  Contingent
         86 Camp Hill Road                                          Unliquidated
         Pomona, NY 10970                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $16,265.45
         Idemia America Corp.                                       Contingent
         4250 Pleasant Valley Road                                  Unliquidated
         Chantilly, VA 20151                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $857.78
         IDT Payment Services, Inc.                                 Contingent
         520 Broad Street                                           Unliquidated
         Newark, NJ 07102                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $342.68
         Illinois Secretary of State                                Contingent
         115 S. LaSalle St., Ste. 300                               Unliquidated
         Chicago, IL 60603                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Intuit, Inc                                                Contingent
         650 California St, 7th Floor                               Unliquidated
         San Francisco, CA 94108                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $229,275.00
         Jones Day                                                  Contingent
         555 California Street 26th Floor                           Unliquidated
         San Francisco, CA 94104-1500                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,433.97
         Klutch Technologies Inc.                                   Contingent
         3515 Mount Diablo Blvd                                     Unliquidated
         Lafayette, CA 94549                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Knab, Inc                                                  Contingent
         432 Fremont Ave                                            Unliquidated
         Pacifica, CA 94044                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $473,662.28
         Kroll Associates, Inc                                      Contingent
         600 3rd Ave Fl 4                                           Unliquidated
         New York, NY 10016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Landa Holdings, Inc                                        Contingent
         One Penn Plaza, suite 5307                                 Unliquidated
         New York, NY 10119                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Latitud, Inc                                               Contingent
         4588 Bennett Valley Road                                   Unliquidated
         Santa Rosa, CA 95404                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $276,812.26
         Lineage Bank                                               Contingent
         3359 Aspen Grove Drive Suite 150                           Unliquidated
         Franklin, TN 37067                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $115,045.82
         Linkedin Corporation                                       Contingent
         62228 Collections Center Drive                             Unliquidated
         Chicago, IL 60693-0622                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $28,707.50
         Littler Mendelson, PC                                      Contingent
         P.O. Box 207137                                            Unliquidated
         Dallas, TX 75320-7137                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $30,985.24
         Lob.com, Inc.                                              Contingent
         2261 Market Street STE 5668                                Unliquidated
         San Francisco, CA 94114                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $27,563.00
         London & Stout P.C.                                        Contingent
         1999 Harrison Street Ste 2010                              Unliquidated
         Oakland, CA 94612                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $166,921.12
         Lowenstein Sandler LLP                                     Contingent
         One Lowenstein Drive                                       Unliquidated
         Roseland, NJ 07068                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Machnet Technologies, Inc                                  Contingent
         317-642 Rue De Courcelle                                   Unliquidated
         Montreal, Quebec H4C 3C5,                                  Disputed
         Canada
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $210,900.83
         MasterCard International                                   Contingent
         2200 Mastercard Boulevard                                  Unliquidated
         O' Fallon, MO 63368-7263                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Masterworks Administrative Services, LLC                   Contingent
         225 Liberty St, 29th floor                                 Unliquidated
         New York, NY 10281                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         McBurberod Financial Inc                                   Contingent
         650 California St, 7th Floor                               Unliquidated
         San Francisco, CA 94108                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Mercury Technologies, Inc.                                 Contingent
         660 Mission Street, 4th Floor                              Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         MicroVenture Marketplaces, Inc                             Contingent
         11601 Alterra parkway, suite 100                           Unliquidated
         Austin, TX 78758                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Mila Popov aka Mila Alemasov, individual                   Contingent
         Law Offices of Svetlana Rishini                            Unliquidated
         PO Box 2114                                                Disputed
         Alameda, CA 94501
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Momento Technologies, Inc                                  Contingent
         401 Park Ave South, 9th floor                              Unliquidated
         New York, NY 10016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Nasim Shushtari                                            Contingent
         Kesluk, Silverstein, Jacob & Morrison, P                   Unliquidated
         Los Angeles, CA 90069                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $71.40
         Navan, Inc                                                 Contingent
         3045 Park Blvd                                             Unliquidated
         Palo Alto, CA 94306                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $125,112.12
         Newfront Insurance, Inc                                    Contingent
         55 2nd Street, 18th Floor                                  Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $17,371.96
         Next Financial Inc                                         Contingent
         221 1ST Ave W                                              Unliquidated
         Seattle, WA 98119                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Nomad Fintech, Inc. Nomad Tecnologia e P                   Contingent
         873 El Camino Real                                         Unliquidated
         Menlo Park, CA 94025                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27.05
         OneBlinc,LLC                                               Contingent
         225 E Dania Beach Blvd                                     Unliquidated
         Dania Beach, FL 33004                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $32,830.08
         Papaya Global, Inc.                                        Contingent
         1460 Broadway                                              Unliquidated
         New York, NY 10036                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,083.34
         Paredes Strategies LLC                                     Contingent
         9 Shorelands Court                                         Unliquidated
         Greenwich, CT 06870                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Passfolio Financial, LLC                                   Contingent
         1390 Market St, Suite 200                                  Unliquidated
         San Francisco, CA 94102                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Patrina Corporation                                        Contingent
         45 Broadway, 1440                                          Unliquidated
         New York, NY 10006                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: For Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $99,900.00
         Performiline, Inc                                          Contingent
         58 South Street 2nd Floor                                  Unliquidated
         Morristown, NJ 07960                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $21,700.00
         PitchBook Data, Inc.                                       Contingent
         901 Fifth Avenue, Suite 1200                               Unliquidated
         Seattle, WA 98164                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Pretax Hero, Inc                                           Contingent
         159 Court St #2                                            Unliquidated
         New York, NY 11201                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $91.25
         PRGB, Inc.                                                 Contingent
         256 W Data Drive                                           Unliquidated
         Draper, UT 84020                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $76.70
         Profit Financial, Inc.                                     Contingent
         43 W 23rd Street, 6th Floor,                               Unliquidated
         New York, NY 10010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         PROG Services, Inc.                                        Contingent
         256 W Data Drive                                           Unliquidated
         Draper, UT 84020                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Rego Payment Architectures, Inc                            Contingent
         325 Sentry Parkway, suite 200                              Unliquidated
         Blue Bell, PA 19422                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,069.28
         Rocketlane Corp                                            Contingent
         3524 Silverside Road Suite 35B                             Unliquidated
         Wilmington, DE 19810                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Roost Enterprises, Inc                                     Contingent
         629 N High Street, 6th floor                               Unliquidated
         Columbus, OH 43215                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,420.00
         Routefusion Inc.                                           Contingent
         1305 East 6th Street Unit 10                               Unliquidated
         Austin, TX 78702                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,500.00
         Salesforce, Inc.                                           Contingent
         415 Mission Street 3rd Floor,                              Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $669.28
         Secure Talent, Inc                                         Contingent
         Secure Talent, Inc. PO BOX 512220                          Unliquidated
         Los Angeles, CA 90051-0220                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Seed Financial, Inc                                        Contingent
         650 California St, 7th Floor                               Unliquidated
         San Francisco, CA 94108                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $560.00
         Sentant Network, LLC                                       Contingent
         535 Mission St 14th floor                                  Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Silt Inc                                                   Contingent
         404 Bryant Street                                          Unliquidated
         San Francisco, CA 94107                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $131,250.00
         Sloanne & Company, LLC                                     Contingent
         285 Fulton Street 69th Floor                               Unliquidated
         New York, NY 10007                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         South Carolina Dept. of Cons. Afffairs                     Contingent
         293 Greystone Boulevard, Ste 400                           Unliquidated
         Columbia, SC 29210                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: For Notice Purposes Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $52,048.31
         Spectrum Marketing Solutions, LLP                          Contingent
         4470 W Sunset Blvd 90864                                   Unliquidated
         Los Angeles, CA 90027                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,560.00
         Split Software, Inc                                        Contingent
         2317 Broadway Street 3rd Floor                             Unliquidated
         Redwood City, CA 94063                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,590.45
         SportsPay Partners, LLC                                    Contingent
         177 E Colorado Blvd, Ste 200                               Unliquidated
         Pasadena, CA 91105                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,791.65
         SRGR Law Offices                                           Contingent
         A3 Fl 3, Noida, Uttar Pradesh                              Unliquidated
         India 00020-1301                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Sunny Day Fund Solutions, Inc                              Contingent
         6003 Madison Overlook Ct.                                  Unliquidated
         Falls Church, VA 22041                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $67,500.02
         TabaPay, Inc                                               Contingent
         605 Ellis Street 110                                       Unliquidated
         Mountain View, CA 94043                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         TClub, Inc                                                 Contingent
         2261 Market Street, 4688                                   Unliquidated
         San Francisco, CA 94114                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Texas Workforce Commission                                 Contingent
         101 E 15th Street                                          Unliquidated
         Room 556                                                   Disputed
         Austin, TX 78778
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3.16
         This Is Alice Inc.                                         Contingent
         1040 Noel Dr                                               Unliquidated
         Menlo Park, CA 94025                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $290,822.50
         Thomson Reuters                                            Contingent
         PO Box 6292 - West Payment Center                          Unliquidated
         Carol Stream, IL 60197-6292                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,792.62
         Triple 2 Inc.                                              Contingent
         5501 China Point                                           Unliquidated
         Long Beach, CA 90803                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $225,754.20
         Trulioo Information Services, Inc                          Contingent
         400-114 East 4th St                                        Unliquidated
         Vancouver, CA 94104                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,140.86
         Turing Enterprises Inc.                                    Contingent
         Turing Enterprises Inc. P.O. Box 735665                    Unliquidated
         Chicago, IL, IL 60673-5665                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Under Technologies, Inc                                    Contingent
         Keker, Van Nest & Peters LLP 633 Battery                   Unliquidated
         San Francisco, CA 94111                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Under Technologies, Inc                                    Contingent
         446 W 14th Street, 2nd floor                               Unliquidated
         New York, NY 10014                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Unest Holdings, Inc                                        Contingent
         5161 Lankershim Blvd, 250                                  Unliquidated
         North Holywood, CA 91601                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $31,925.00
         Unit21, Inc                                                Contingent
         49 Geary Street Suite 200                                  Unliquidated
         San Francisco, CA 94108                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $27,060.00
         Venminder, Inc                                             Contingent
         400 Ring Rd, Ste 131                                       Unliquidated
         Elizabethtown, KY 42701                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.118     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Visage Enterprise, Inc                                            Contingent
          1601 Elm                                                          Unliquidated
          Dallas, TX 75201                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.119     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $35,848.07
          William Blair & Company, L.L.C.                                   Contingent
          150 North Riverside Plaza                                         Unliquidated
          Chicago, IL 60606                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.120     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          WireBee Inc                                                       Contingent
          8700 Sanctuary Drive                                              Unliquidated
          Mentor, OH 44060                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.121     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,450.00
          WorkRamp, Inc.                                                    Contingent
          440 N Barranca Ave 3840                                           Unliquidated
          Covina, CA 91723-1722                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.122     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          YieldStreet Inc.                                                  Contingent
          300 Park Avenue, 15th Floor,                                      Unliquidated
          New York, NY 10022                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.123     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $55,000.00
          Yodlee, Inc                                                       Contingent
          621 Hillsborough Street, 10th Floor                               Unliquidated
          Raleigh, NC 27603                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.124     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $65,172.33
          Yotta Technologies Inc                                            Contingent
          33 Irving Pl                                                      Unliquidated
          New York, NY 10003                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       Evolve Bank & Trust
          Attn: David M. Poitras, Esq.                                                          Line      3.29
          21650 Oxnard Street, Suite 500
          Woodland Hills, CA 91367                                                                    Not listed. Explain



Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
5a. Total claims from Part 1                                                                        5a.          $                     67,849.55
5b. Total claims from Part 2                                                                        5b.    +     $                  4,257,106.44

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                             5c.          $                    4,324,955.99




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Fill in this information to identify the case:

Debtor name        Synapse Financial Technologies, Inc.

United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)       1:24-bk-10646-MB
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Retention Agreements
             lease is for and the nature of       dated on or about
             the debtor's interest                October 25, 2023
                                                  between Synapse
                                                  Financial Technologies,
                                                  Inc. and each of its
                                                  employees active as of
                                                  the filing date of this
                                                  Schedule G.
                State the term remaining

             List the contract number of any                                        *Employees
                   government contract


2.2.         State what the contract or           Health Services
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    1Life Healthcare, Inc
             List the contract number of any                                        PO Box 779
                   government contract                                              San Francisco, CA 94104


2.3.         State what the contract or           Agreement for Parking
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    ABM Industry Groups, LLC
             List the contract number of any                                        600 Harrison Street #600
                   government contract                                              San Francisco, CA 94107




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.4.      State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Adelante CX
          List the contract number of any                               48 Rehov King George
                government contract                                     Tel-Aviv District, Israel 00643-3701


2.5.      State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Adobe Inc
          List the contract number of any                               345 Park Ave
                government contract                                     San Jose, CA 00094-5110


2.6.      State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Airtable
          List the contract number of any                               799 Market Street, 8th Floor
                government contract                                     San Francisco, CA 94103


2.7.      State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Allende & Brea
          List the contract number of any                               8750 Doral Boulevard
                government contract                                     Doral, FL 33178


2.8.      State what the contract or        Company Insurance
          lease is for and the nature of    Broker
          the debtor's interest

             State the term remaining
                                                                        Alliant Insurance Services, Inc
          List the contract number of any                               PO Box 21874
                government contract                                     New York, NY 10087-1874




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.9.      State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Amazon Web Services, Inc.
          List the contract number of any                               410 Terry Avenue North
                government contract                                     Seattle, WA 98109


2.10.     State what the contract or        Bank Partner
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        American Bank National Association
          List the contract number of any                               525 N Main Avenue
                government contract                                     Siox Center, IA 51250


2.11.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        American Crew Group LLC
          List the contract number of any                               7871 Northwest 15th Street
                government contract                                     Doral, FL 33126


2.12.     State what the contract or        Benefit Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        AON Consulting, Inc
          List the contract number of any                               P.O BOX100137
                government contract                                     Pasadena, CA 91189-0137


2.13.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        APIHub, Inc
          List the contract number of any                               90 Sheridan St San Francisco, CA 94103
                government contract                                     San Francisco, CA 94103




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.14.     State what the contract or        Accounting
          lease is for and the nature of    Professional Services
          the debtor's interest

             State the term remaining
                                                                        Aprio, LLP
          List the contract number of any                               201 North Civic Drive, Suite 220
                government contract                                     Walnut Creek, CA 94596


2.15.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Arktouros PLLC
          List the contract number of any                               1717 N Street Northwest, Suite 1
                government contract                                     Washington DC, DC 20036


2.16.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Arroweye Solutions Inc.
          List the contract number of any                               2470 Paseo Verde Parkway Suite 135,
                government contract                                     Henderson, NV 89074


2.17.     State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Arthur J. Gallagher & Co.
          List the contract number of any                               2850 Golf Road
                government contract                                     Roling Meadows, IL 60008


2.18.     State what the contract or        Interim CFO
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ascent CFO Solutions, LLC
          List the contract number of any                               1035 Pearl St Suite 407
                government contract                                     Boulder, CO 80302




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.19.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Atlassian Pty Ltd
          List the contract number of any                               350 Bush Street, Floor 13
                government contract                                     San Francisco, CA 94104


2.20.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ATM National, LLC
          List the contract number of any                               7315 Wisconsin Avenue, Suite 750 East
                government contract                                     Bethesda, MD 20814


2.21.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Atmos Financial, Inc
          List the contract number of any                               2222 Harold Way, Suite CW509
                government contract                                     Berkeley, CA 94704


2.22.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        BairdHolm, LLP
          List the contract number of any                               1700 Farnam St, Ste 1500
                government contract                                     Omaha, NE 68102


2.23.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Baker Tilly US, LLP
          List the contract number of any                               18500 Von Karman Ave. 10th Floor
                government contract                                     Irvine, CA 92660




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.24.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Ballard Spahr, LLP
          List the contract number of any                               1909 K Street, Nw 12Th Floor
                government contract                                     Washington, DC, DC 20006


2.25.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Banco Ourinvest
          List the contract number of any                               Avenida Paulista, 1728, Bela Vista
                government contract                                     Sao Paulo, SP, Brazil 00131-0919


2.26.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        BanPAY (US) LLC
          List the contract number of any                               66 West Flager St, Suite 900
                government contract                                     Miami, FL 33140


2.27.     State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        BDO USA, LLP
          List the contract number of any                               PO Box 677973
                government contract                                     Dallas, TX 75267


2.28.     State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Beam Insurance Services, LLP
          List the contract number of any                               10943 Olson Dr #5659
                government contract                                     Rancho Cordova, CA 95670




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.29.     State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bennie Health, Inc.
          List the contract number of any                               700 Canal St, Ste 1
                government contract                                     Stamford, CT 06902


2.30.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bill.com, LLC
          List the contract number of any                               6220 America Center Dr Suite 100
                government contract                                     San Jose, CA 95002


2.31.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Bloom Credit, Inc.
          List the contract number of any                               450 7th Avenue
                government contract                                     NY, NY 10123


2.32.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Brightside Benefit, Inc
          List the contract number of any                               55 N Arizona Pl, Ste 200
                government contract                                     Chandler, AZ 85225


2.33.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        BuoyFi LLC
          List the contract number of any                               1745 N Brown Rd, Suite 450
                government contract                                     Lawrenceviller, GA 30043




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.34.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Business Technology Partners, LLP
          List the contract number of any                               PO Box 7004
                government contract                                     Carol Stream, IL 60197-7004


2.35.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Business Wire, Inc
          List the contract number of any                               101 California Street 20th Floor
                government contract                                     San Francisco, CA 94111


2.36.     State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        C Squared Communications,LLC
          List the contract number of any                               317 Acorn Hill Road
                government contract                                     Olivebridge, NY 12461


2.37.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cactil LLC
          List the contract number of any                               1441 Broadway 3rd floor
                government contract                                     New York, NY 10018


2.38.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Cadre Cash, LLC
          List the contract number of any                               295 Lafayette Street, Suite 500
                government contract                                     New York, NY 10012




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.39.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Calendly, LLC
          List the contract number of any                               271 17th St. Ste 1000
                government contract                                     Atlanta, GA 30363


2.40.     State what the contract or        Benefit Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Calm.com, Inc
          List the contract number of any                               77 Geary Street, 3rd Floor
                government contract                                     San Francisco, CA 94108


2.41.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Capital J Inc
          List the contract number of any                               1390 Market Street, Suite 200
                government contract                                     San Francisco, CA 94102


2.42.     State what the contract or        Bank Partner
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        CBW Bank Inc
          List the contract number of any                               109 E. Main St
                government contract                                     Weir, KS 66781


2.43.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        CFX Direct, LLC
          List the contract number of any                               41 W. 25th St., 2nd Floor
                government contract                                     New York, NY 10010




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.44.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        ChangeEd, Inc
          List the contract number of any                               222 W. Merchandise Mart Plaza, Suite 1212
                government contract                                     Chicago, IL 60654


2.45.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Checkr, Inc
          List the contract number of any                               One Montgomery St Suite 2000
                government contract                                     San Francisco, CA 94104


2.46.     State what the contract or        Benefit Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cigna Healthcare of California, Inc
          List the contract number of any                               900 Cottage Grove Rd
                government contract                                     Bloomfield, CT 06002


2.47.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Circle Internet Services, Inc
          List the contract number of any                               201 Spear St, 12th Floor
                government contract                                     San Francisco, CA 94105


2.48.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        ClassWallet
          List the contract number of any                               4141 NE 2nd Avenue Suite, 203B
                government contract                                     Miami, FL 33137




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.49.     State what the contract or        Consultant
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Clear Function, LLC
          List the contract number of any                               2130 West Street
                government contract                                     Germantown, TN 38138


2.50.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cloudflare, Inc
          List the contract number of any                               101 Townsend St
                government contract                                     San Francisco, CA 94107


2.51.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Coba Chib USA, LLC
          List the contract number of any                               701 Brazos St, Suite 500
                government contract                                     Austin, TX 78701


2.52.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cobalt Labs, Inc
          List the contract number of any                               575 Market St. Fl 4
                government contract                                     San Francisco, CA 94105


2.53.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Cogent Communications, Inc
          List the contract number of any                               2450 N Street NW
                government contract                                     Washington, DC 20037




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.54.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        COINAPI LTD.
          List the contract number of any                               Britannia House, Suite 402, 1-11 Glenthorne Road
                government contract                                     Hammersmith, London, UK W6 0LH


2.55.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Content Monsta
          List the contract number of any                               1395 East Cobb Drive Box 71472
                government contract                                     Marietta, GA 30007


2.56.     State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Continuum, Inc
          List the contract number of any                               101 2nd Street Suite 525
                government contract                                     San Francisco, CA 94105


2.57.     State what the contract or        Registered Agent
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        CT Corp
          List the contract number of any                               PO Box 4349
                government contract                                     Carol Stream, IL 60197-4349


2.58.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Curacubby, Inc.
          List the contract number of any                               2120 University Ave,
                government contract                                     Berkeley, CA 94704




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2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.59.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Datadog, Inc.
          List the contract number of any                                620 8th Avenue Floor 45
                government contract                                      New York, NY 10018-1741


2.60.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Datasite, LLC
          List the contract number of any                                733 S. Marquette Ave, Suite 600
                government contract                                      Minneapolis, MN 55402


2.61.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                         Dave Maxfield, Attorney, LLC
          List the contract number of any                                P.O. Box 11865
                government contract                                      Columbia, SC 29211


2.62.     State what the contract or        International Employee
          lease is for and the nature of    Firm
          the debtor's interest

             State the term remaining
                                                                         Deel, Inc
          List the contract number of any                                425 1st Street
                government contract                                      San Francisco, CA 94105


2.63.     State what the contract or        HR Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Degree, Inc
          List the contract number of any                                PO Box 207585
                government contract                                      Dallas, TX 75320-7585




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.64.     State what the contract or        Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Digital 365 Main, LLC
          List the contract number of any                               365 Main Street Suite 1500
                government contract                                     San Francisco, CA 94015


2.65.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Discourse Construction Kit, Inc
          List the contract number of any                               8 The Grn Ste 8383
                government contract                                     Dover, DE 19901-3618


2.66.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Docker, Inc.
          List the contract number of any                               3790 El Camino Real #1052
                government contract                                     Palo Alto, CA 94306


2.67.     State what the contract or        IT Consultant
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        DoiT International USA, Inc
          List the contract number of any                               5201 Great America Pkwy, Suite 320
                government contract                                     Santa Clara, CA 95054


2.68.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        DolarApp Inc.
          List the contract number of any                               Calle Sur 105, 1206, Col. Aeronautica Militar, Mun
                government contract                                     Ciudad de Mexico, MEXICO CP 15979




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.69.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Domo, Inc
          List the contract number of any                               802 East 1050 South
                government contract                                     American Fork, UT 84003-3798


2.70.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        EarnUp, Inc.
          List the contract number of any                               2370 Market St, Suite 203
                government contract                                     San Francisco, CA 94114


2.71.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ekata, Inc.
          List the contract number of any                               1301 5th Ave Suite 1600
                government contract                                     Seattle, WA 98101


2.72.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        EMVCo, LLC
          List the contract number of any                               544 Hillside Road
                government contract                                     Redwood City, CA 94062


2.73.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Envoy Inc
          List the contract number of any                               410 Townsend St Suite 410 Suite 410
                government contract                                     San Francisco, CA 94107




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.74.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        eShares, Inc. DBA Carta, Inc.
          List the contract number of any                               333 Bush Street, Floor 23, Suite 2300
                government contract                                     San Francisco, CA 94104


2.75.     State what the contract or        Bank Partner
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Evolve Bank & Trust
          List the contract number of any                               6070 Poplar Avenue, Suite 100
                government contract                                     Memphis, TN 38119


2.76.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Farris Bobango Branan PLC
          List the contract number of any                               999 South Shady Grove Road Suite 500
                government contract                                     Memphis, TN 38120


2.77.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Figma, Inc
          List the contract number of any                               116 New Montgomery Street, Suite 400
                government contract                                     San Francisco, CA 94105


2.78.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fime USA Inc.
          List the contract number of any                               1737 N 1st St Ste 410
                government contract                                     San Jose, CA 95112




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.79.     State what the contract or        Trade Organization
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Financial Technology Association (FTA)
          List the contract number of any                               PO Box 223302
                government contract                                     Chantilly, VA 20153


2.80.     State what the contract or        Trade Show
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fintech Meetup,LLC
          List the contract number of any                               605 3rd Avenue
                government contract                                     New York, NY 10158


2.81.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fiserv, Inc.
          List the contract number of any                               255 Fiserv Drive
                government contract                                     Brookfield, WI 53045


2.82.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fleishman Hillard Brasil Comunica o, LT
          List the contract number of any                               Rua Henrique Schauman, 270, Jardim Paulista
                government contract                                     Sao Paulo, SP, Brazil 00541-3010


2.83.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fractionally, Inc
          List the contract number of any                               PO Box 2227
                government contract                                     Merced, CA 95344




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.84.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fraudguard.io
          List the contract number of any                               12116 Everglades Kite Road
                government contract                                     Brooksville, FL 34614


2.85.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Frazier & Deeter, LLC
          List the contract number of any                               222 2nd Avenue S Suite 1840
                government contract                                     Nashville, TN 37201-2308


2.86.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Frontier Business Systems Pvt Ltd
          List the contract number of any                               3 Wood Street, Bengaluru
                government contract                                     Bengaluru KA, India 00056-0025


2.87.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Functional Software, Inc. d/b/a Sentry
          List the contract number of any                               45 Fremont Street, 8th Floor,
                government contract                                     San Francisco, CA 94105


2.88.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Fund That Flip, Inc
          List the contract number of any                               10 E 23rd Street, 5 floor
                government contract                                     New York, NY 10010




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.89.     State what the contract or        Advisor Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Gattaca Horizons, LLC
          List the contract number of any                               5903 Ashby Manor Place
                government contract                                     Alexandria, VA 22310


2.90.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Gem Software, Inc
          List the contract number of any                               1 Post Street, 18th Floor,
                government contract                                     San Francisco, CA 94104


2.91.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        GitBook Inc
          List the contract number of any                               440 N Barranca Ave #7171
                government contract                                     Covina, CA 91723


2.92.     State what the contract or        Software and Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Github, Inc
          List the contract number of any                               c/o Corporation Service Company 2710 Gateway Oaks
                government contract                                     Sacramento, CA 95833


2.93.     State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        GO1 USA, LLC
          List the contract number of any                               26 S Rio Grande St Ste 2072
                government contract                                     Salt Lake City, UT 84101




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.94.     State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Gong.io, Inc
          List the contract number of any                               PO Box 102866
                government contract                                     Pasadena, CA 91189


2.95.     State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Goodwin Procter LLP
          List the contract number of any                               Counselors at Law Three Embarcadero Center
                government contract                                     San Francisco, CA 94111


2.96.     State what the contract or        Advertising
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Google LLC
          List the contract number of any                               1600 Amphitheatre Parkway
                government contract                                     Mountain View, CA 94043


2.97.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Grabr Inc.
          List the contract number of any                               201 Spear St, STE: 1100
                government contract                                     San Francisco, CA 94105


2.98.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Gravy Technologies, Inc.
          List the contract number of any                               119 S Main Street
                government contract                                     St. Charles, MO 00063-3301




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.99.     State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        GravyStack, Inc.
          List the contract number of any                               1 N. 1st Street, 790
                government contract                                     Phoenix, AZ 85004


2.100.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Grid Financial Services Inc
          List the contract number of any                               1112 Bryant Street
                government contract                                     San Francisco, CA 94103


2.101.    State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Guideline Technologies, Inc
          List the contract number of any                               1412 Chapin Ave
                government contract                                     Burlingame, CA 94010


2.102.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        GW Solyushans Ltd
          List the contract number of any                               Asen Zlatarov 16
                government contract                                     Plovdiv, Bulgaria 04000-0000


2.103.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Hanson Bridgett LLP
          List the contract number of any                               425 Market Street, 26th Floor
                government contract                                     San Francisco, CA 94105




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.104.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Hatfield, Inc.
          List the contract number of any                               1112 Bryant Street
                government contract                                     San Francisco, CA 94103


2.105.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Hathaway & Kunz, LLP
          List the contract number of any                               2515 Warren Avenue, Suite 500
                government contract                                     Cheyenne, WY 82001


2.106.    State what the contract or        Customer
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Henry Labs Inc.
          List the contract number of any                               3340 Hillview Ave
                government contract                                     Palo Alto, CA 94304


2.107.    State what the contract or        Building Manager
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Hines Interests, LP
          List the contract number of any                               PO Box 511431
                government contract                                     Los Angeles, CA 90051-7986


2.108.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Hixson Nagatani LLP
          List the contract number of any                               2021 The Alameda, Ste 240
                government contract                                     San Jose, CA 95126




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.109.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Hubspot, Inc
          List the contract number of any                               Attn: General Counsel Two Canal Park
                government contract                                     Cambridge, MA 02141


2.110.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Hummingbird Reg Tech, Inc
          List the contract number of any                               440 North Barranca Avenue 4151
                government contract                                     Covina, CA 91723


2.111.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Husch Blackwell
          List the contract number of any                               8001 Forsyth Boulevard
                government contract                                     Clayton, MO 63105


2.112.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Hyve, Inc
          List the contract number of any                               86 Camp Hill Road
                government contract                                     Pomona, NY 10970


2.113.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Idemia America Corp.
          List the contract number of any                               4250 Pleasant Valley Road
                government contract                                     Chantilly, VA 20151




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.114.    State what the contract or        Software and Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Idera,Inc
          List the contract number of any                               10801 N Mopac Expressway, Building 1, Suite 100
                government contract                                     Austin, TX 78759


2.115.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        IDT Payment Services, Inc.
          List the contract number of any                               520 Broad Street
                government contract                                     Newark, NJ 07102


2.116.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        IIB Solutions Ltd.
          List the contract number of any                               19 West 24th Street
                government contract                                     New York, NY 10010


2.117.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Intuit, Inc
          List the contract number of any                               c/o Corporation Service Company (CSC) 251 Little F
                government contract                                     Wilmington, DE 19808


2.118.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Ironclad, Inc
          List the contract number of any                               650 California Street Suite 1100
                government contract                                     San Francisco, CA 94108




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         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.119.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        JN Projects, Inc
          List the contract number of any                               1800 Owens St
                government contract                                     San Francisco, CA 94158


2.120.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Jones Day
          List the contract number of any                               555 California Street 26th Floor
                government contract                                     San Francisco, CA 94104-1500


2.121.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining

          List the contract number of any                               JSON-crv
                government contract


2.122.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Klutch Technologies Inc.
          List the contract number of any                               3515 Mount Diablo Blvd
                government contract                                     Lafayette, CA 94549


2.123.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Knab, Inc
          List the contract number of any                               432 Fremont Ave
                government contract                                     Pacifica, CA 94044




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.124.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Kranz & Associates LLC
          List the contract number of any                               Kranz & Associates LLC 830 Menlo Ave., Suite 100
                government contract                                     Menlo Park, CA 94025


2.125.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Kroll Associates, Inc
          List the contract number of any                               55 East 52nd Street
                government contract                                     New York, NY 10055


2.126.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Landa Holdings, Inc
          List the contract number of any                               One Penn Plaza, suite 5307
                government contract                                     New York, NY 10119


2.127.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Latitud, Inc
          List the contract number of any                               4588 Bennett Valley Road
                government contract                                     Santa Rosa, CA 95404


2.128.    State what the contract or        Transportation
          lease is for and the nature of    Services
          the debtor's interest

             State the term remaining
                                                                        Legacy Transportation Services, Inc
          List the contract number of any                               5220 Cameron Street
                government contract                                     Las Vegas, NV 89118




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.129.    State what the contract or        Recruiting Software
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Lever, Inc
          List the contract number of any                               DEPT 0569 PO Box 120569
                government contract                                     Dallas, TX 75312-0569


2.130.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        LexSpot,Inc
          List the contract number of any                               90 New Montgomery St, Suite 750
                government contract                                     San Francisco, CA 94105


2.131.    State what the contract or        Compliance Services
          lease is for and the nature of    Agreeent
          the debtor's interest

             State the term remaining
                                                                        Lighthouse Services, LLC
          List the contract number of any                               1710 Walton Rd., Suite 204
                government contract                                     Blue Bell, PA 19422


2.132.    State what the contract or        Bank Partner
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Lineage Bank
          List the contract number of any                               3359 Aspen Grove Drive Suite 100
                government contract                                     Franklin, TN 37067


2.133.    State what the contract or        Recruiting and
          lease is for and the nature of    Advertising Services
          the debtor's interest

             State the term remaining
                                                                        Linkedin Corporation
          List the contract number of any                               62228 Collections Center Drive
                government contract                                     Chicago, IL 60693-0622




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.134.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Linksquares, Inc.
          List the contract number of any                               33 Arch St, Floor 17
                government contract                                     Boston, MA 02110


2.135.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Littler Mendelson, PC
          List the contract number of any                               P.O. Box 207137
                government contract                                     Dallas, TX 75320-7137


2.136.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Lob.com, Inc.
          List the contract number of any                               2261 Market Street STE 5668
                government contract                                     San Francisco, CA 94114


2.137.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        London & Stout P.C.
          List the contract number of any                               1999 Harrison Street Ste 2010
                government contract                                     Oakland, CA 94612


2.138.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Lowenstein Sandler LLP
          List the contract number of any                               One Lowenstein Drive
                government contract                                     Roseland, NJ 07068




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.139.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Lucid Software, Inc
          List the contract number of any                               10355 South Jordan Gateway Suite 300
                government contract                                     South Jordan, UT 84095


2.140.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Machnet Technologies, Inc
          List the contract number of any                               10355 South Jordan Gateway Suite 300
                government contract                                     Montreal, Quebec, Canada H4C 3C5


2.141.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Mailchimp
          List the contract number of any                               675 Ponce De Leon Ave Ne # 5000
                government contract                                     Atlanta, GA 30308


2.142.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        MainVest, Inc.
          List the contract number of any                               81 Washington Street
                government contract                                     Salem, MA 01970


2.143.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MasterCard International
          List the contract number of any                               2200 Mastercard Boulevard
                government contract                                     O' Fallon, MO 63368-7263




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.144.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MasterCard International
          List the contract number of any                               2000 Purchase Street
                government contract                                     Purchase, New York 10577-0000


2.145.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MatchUp, LLC
          List the contract number of any                               141 Tremont Street 8th Floor
                government contract                                     Boston, MA 02111


2.146.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Max Webster-Dowsing
          List the contract number of any                               130 Southsea Avenue, Minster-On-Sea
                government contract                                     Sheerness, Kent,, UK ME12 2LU


2.147.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        McBurberod Financial Inc
          List the contract number of any                               650 California St, 7th Floor
                government contract                                     San Francisco, CA 94108


2.148.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Mental Health Coaching LLC
          List the contract number of any                               9450 Southwest Gemini Drive PMB 70589
                government contract                                     Beaverton, OR 97008




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.149.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Metropolitan Electrical Construction, In
          List the contract number of any                               2400 3rd Street
                government contract                                     San Francisco, CA 94107


2.150.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Microsoft Corporation
          List the contract number of any                               One Microsoft Way
                government contract                                     Redmond, WA 98052


2.151.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        MJ Boyd LLC
          List the contract number of any                               376 Pequot Avenue
                government contract                                     Southport, CT 06890


2.152.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Mongo DB, Inc
          List the contract number of any                               100 Forest Avenue
                government contract                                     Palo Alto, CA 94301


2.153.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        My First Sale, LLC
          List the contract number of any                               1 N. 1st Street, 790
                government contract                                     Phoenix, AZ 85004




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.154.    State what the contract or        Domain Registration
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Namecheap, Inc
          List the contract number of any                               4600 E Washington St Ste 305
                government contract                                     Phoenix, AZ 85034


2.155.    State what the contract or        Registered Agent
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        NATIONAL REGISTERED AGENTS, INC.
          List the contract number of any                               PO Box 4349
                government contract                                     Carol Stream, IL 60197


2.156.    State what the contract or        Travel Mangement
          lease is for and the nature of    Agency
          the debtor's interest

             State the term remaining
                                                                        Navan, Inc
          List the contract number of any                               3045 Park Blvd
                government contract                                     Palo Alto, CA 94306


2.157.    State what the contract or        Managed Services
          lease is for and the nature of    Provider
          the debtor's interest

             State the term remaining
                                                                        Nevtec, Inc
          List the contract number of any                               1150 S. Bascom Ave, Suite 12
                government contract                                     San Jose, CA 95128


2.158.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Nir Kalish
          List the contract number of any                               101 Edinburgh Isle Court
                government contract                                     Lakeway, TX 78738




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.159.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Nova Credit Inc.
          List the contract number of any                               44 Montgomery St 3rd floor
                government contract                                     San Francisco, CA 94104


2.160.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Nowsta, Inc.
          List the contract number of any                               228 Park Ave S, PMB 62909
                government contract                                     New York, NY 10003-1502


2.161.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        OneBlinc,LLC
          List the contract number of any                               225 E Dania Beach Blvd
                government contract                                     Dania Beach, FL 33004


2.162.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        OpsGenie, Inc
          List the contract number of any                               222 Broadway
                government contract                                     New York, NY 10038


2.163.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Optim ACH Solutions LLC
          List the contract number of any                               9789 Charlotte Highway Suite 400 #219
                government contract                                     Fort Mill, SC 29707




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2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.164.    State what the contract or        Office Plant Services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Pacific Coast Plants LLC
          List the contract number of any                                1634 E. Edinger
                government contract                                      Santa Ana, CA 92705


2.165.    State what the contract or        International Employee
          lease is for and the nature of    Contract Firm
          the debtor's interest

             State the term remaining
                                                                         Papaya Global, Inc.
          List the contract number of any                                1460 Broadway
                government contract                                      New York, NY 10036


2.166.    State what the contract or        Advisory Board
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Paredes Strategies LLC
          List the contract number of any                                9 Shorelands Court
                government contract                                      Greenwich, CT 06870


2.167.    State what the contract or        Contractor Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Parkman Licensing, Inc
          List the contract number of any                                1609 England Road
                government contract                                      Arlington, TX 76013


2.168.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                         Paystand, Inc.
          List the contract number of any                                1800 Green Hills Road, Suite 110
                government contract                                      Scotts Valley, CA 95066




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.169.    State what the contract or        Compliance Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Performline, Inc.
          List the contract number of any                               58 South Street 2nd Floor
                government contract                                     Morristown, NJ 07960


2.170.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Pinheiro Neto Advogados
          List the contract number of any                               1095 6th Avenue
                government contract                                     New York, NY 10036


2.171.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Pioneer Works Inc.
          List the contract number of any                               835 Howard St Ste 2
                government contract                                     San Francisco, CA 94103-3009


2.172.    State what the contract or        Marketing Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        PitchBook Data, Inc.
          List the contract number of any                               901 Fifth Avenue, Suite 1200
                government contract                                     Seattle, WA 98164


2.173.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Postman, Inc
          List the contract number of any                               55 2nd Street
                government contract                                     San Francisco, CA 94105




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.174.    State what the contract or        Parking Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Pretax Hero, Inc
          List the contract number of any                               159 Court St #2
                government contract                                     New York, NY 11201


2.175.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        PRGB, Inc.
          List the contract number of any                               256 W Data Drive
                government contract                                     Draper, UT 84020


2.176.    State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Principal Life Insurance Company
          List the contract number of any                               PO Box 10372
                government contract                                     Des Moines, IA 5306-0372


2.177.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        PROG Services, Inc.
          List the contract number of any                               256 W Data Drive
                government contract                                     Draper, UT 84020


2.178.    State what the contract or        Off-site Storage
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Public Storage
          List the contract number of any                               611 2nd Street
                government contract                                     San Francisco, CA 94107




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.179.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        R Monga & Co
          List the contract number of any                               566 Makarwali Road
                government contract                                     Ajmer RJ, India 00030-5004


2.180.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Raygun
          List the contract number of any                               1601 5th Avenue-Suite 1100
                government contract                                     Seattle, WA 98101


2.181.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ReadMe.io CO.
          List the contract number of any                               445 Bush St, #800
                government contract                                     San Francisco, CA 94108


2.182.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Rego Payment Architectures, Inc
          List the contract number of any                               325 Sentry Parkway, suite 200
                government contract                                     Blue Bell, PA 19422


2.183.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        RHR International LLP
          List the contract number of any                               233 South Wacker Drive 95th Floor
                government contract                                     Chicago, IL 60606




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.184.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Rina Accountancy LLP
          List the contract number of any                               475 14th Street, Suite 1200
                government contract                                     Oakland, CA 94612


2.185.    State what the contract or        Employee Management
          lease is for and the nature of    System
          the debtor's interest

             State the term remaining
                                                                        Rippling PEO 1, Inc
          List the contract number of any                               2443 Fillmore Street #380-7361
                government contract                                     San Francisco, CA 94115


2.186.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Rocketlane Corp
          List the contract number of any                               3524 Silverside Road, Suite, 35B
                government contract                                     Wilmington, DE 19810


2.187.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Routefusion Inc.
          List the contract number of any                               1305 East 6th Street #4
                government contract                                     Austin, TX 78702


2.188.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        SaasAnt Inc.
          List the contract number of any                               16192 Coastal Hwy,
                government contract                                     Lewes, DE 19958




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.189.    State what the contract or        CRM
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Salesforce, Inc.
          List the contract number of any                               415 Mission Street 3rd Floor,
                government contract                                     San Francisco, CA 94105


2.190.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        ScaleJoy, LLC
          List the contract number of any                               156 Lower Lakeview Drive
                government contract                                     Hawley, PA 18428


2.191.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Secure Talent, Inc
          List the contract number of any                               Secure Talent, Inc. PO BOX 512220
                government contract                                     Los Angeles, CA 90051-0220


2.192.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Seed Financial, Inc
          List the contract number of any                               650 California St, 7th Floor
                government contract                                     San Francisco, CA 94108


2.193.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sentant Network, LLC
          List the contract number of any                               535 Mission St 14th floor
                government contract                                     San Francisco, CA 94105




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.194.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Seon Technologies Kft
          List the contract number of any                               42 R k czi t 7 EM
                government contract                                     Budapest, Hungary 01072-0000


2.195.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Sherwood Partners, LLC
          List the contract number of any                               3945 Freedom Cir #560,
                government contract                                     Santa Clara, CA 95054


2.196.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Silt Inc
          List the contract number of any                               404 Bryant Street
                government contract                                     San Francisco, CA 94107


2.197.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Skypostal, Inc
          List the contract number of any                               7805 Northwest 15th Street
                government contract                                     Doral, FL 33126


2.198.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Slack Technologies, LLC
          List the contract number of any                               500 Howard St. 6th Floor
                government contract                                     San Francisco,, CA 94105




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.199.    State what the contract or        Proessional Services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sloanne & Company, LLC
          List the contract number of any                               285 Fulton Street 69th Floor, New York, NY
                government contract                                     New York, NY 10007


2.200.    State what the contract or        multi-cloud
          lease is for and the nature of    observability, IT service
          the debtor's interest             management, and
                                            database performance
                                            management
             State the term remaining
                                                                        Solarwinds
          List the contract number of any                               7171 Southwest Pkwy, Building 400
                government contract                                     Austin, TX 78735


2.201.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        SoLo Funds, Inc
          List the contract number of any                               100 W. 5th Street, 5th floor ,
                government contract                                     Cincinnati,, OH 45202


2.202.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SonarSource S.A.
          List the contract number of any                               PO Box 765
                government contract                                     Geneva 15, SWITZERLAND CH-1215


2.203.    State what the contract or        Marketing Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Spectrum Marketing Solutions, LLP
          List the contract number of any                               4470 W Sunset Blvd 90864
                government contract                                     Los Angeles, CA 90027




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.204.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Split Software, Inc
          List the contract number of any                               2317 Broadway Street 3rd Floor
                government contract                                     Redwood City, CA 94063


2.205.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SportsPay Partners, LLC
          List the contract number of any                               177 E Colorado Blvd, Ste 200
                government contract                                     Pasadena, CA 91105


2.206.    State what the contract or        Legal Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        SRGR Law Offices
          List the contract number of any                               A3 Fl 3, Noida
                government contract                                     Uttar Pradesh, India 00020-1301


2.207.    State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Sunit Jain
          List the contract number of any                               KCB Complex
                government contract                                     Guwahati, India 00078-1001


2.208.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Sunny Day Fund Solutions, Inc
          List the contract number of any                               6003 Madison Overlook Ct.
                government contract                                     Falls Church, VA 22041




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.209.    State what the contract or        Experience
          lease is for and the nature of    Management Platform
          the debtor's interest

             State the term remaining
                                                                        SupportLogic, Inc
          List the contract number of any                               356 Santana Row Suite 1000,
                government contract                                     San Jose,, CA 95128


2.210.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Synoptek, LLC
          List the contract number of any                               Attn: Accounting Department 412 E. Parkcenter Blvd
                government contract                                     Boise, ID 83706


2.211.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        TClub, Inc
          List the contract number of any                               2261 Market Street, 4688
                government contract                                     San Francisco, CA 94114


2.212.    State what the contract or        Fintech Networking
          lease is for and the nature of    Service
          the debtor's interest

             State the term remaining
                                                                        TET Events, LLC
          List the contract number of any                               30 N Gould St Ste 12077
                government contract                                     Sheridan, WY 82801


2.213.    State what the contract or        Benefits Provider
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        The Hartford
          List the contract number of any                               P O Box 660916
                government contract                                     Dallas, TX 75266-0916




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Debtor 1 Synapse Financial Technologies, Inc.                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.214.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        The Smart Group
          List the contract number of any                               2349 Gillingham Circle
                government contract                                     Thousand Oaks,, CA 91362


2.215.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        This Is Alice Inc.
          List the contract number of any                               1040 Noel Dr
                government contract                                     Menlo Park, CA 94025


2.216.    State what the contract or        Financial Information
          lease is for and the nature of    and Compliance
          the debtor's interest

             State the term remaining
                                                                        Thomson Reuters
          List the contract number of any                               PO Box 6292 - West Payment Center
                government contract                                     Carol Stream,, IL 60197-6292


2.217.    State what the contract or        Travel Mangement
          lease is for and the nature of    Agency
          the debtor's interest

             State the term remaining
                                                                        TripActions, Inc
          List the contract number of any                               3045 Park Boulevard
                government contract                                     Palo Alto, CA 94306


2.218.    State what the contract or        Digital Agency
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Triple 2 Inc.
          List the contract number of any                               5501 China Point
                government contract                                     Long Beach, CA 90803




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.219.    State what the contract or        Professional Services
          lease is for and the nature of    organization
          the debtor's interest

             State the term remaining
                                                                        True North America, Inc
          List the contract number of any                               8 Cadiz Circle
                government contract                                     Redwood City,, CA 94065


2.220.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Trulioo Information Services, Inc
          List the contract number of any                               1200 1055 West Hastings Street
                government contract                                     Vancouver, BC V6E 2E9


2.221.    State what the contract or        Professional Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Turing Enterprises Inc.
          List the contract number of any                               Turing Enterprises Inc. P.O. Box 735665
                government contract                                     Chicago, IL, IL 60673-5665


2.222.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Twilio Inc.
          List the contract number of any                               101 Spear Street, 5th Floor
                government contract                                     San Francisco, CA 94105


2.223.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Unest Holdings, Inc
          List the contract number of any                               5161 Lankershim Blvd, 250
                government contract                                     North Holywood, CA 91601




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.224.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Unit21, Inc
          List the contract number of any                               222 Kearny St, Suite 304
                government contract                                     San Francisco, CA 94108


2.225.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Utoppia Inc.
          List the contract number of any                               399 Fremont St. 2107
                government contract                                     San Francisco,, CA 94105


2.226.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Venminder, Inc
          List the contract number of any                               400 Ring Rd, Ste 131
                government contract                                     Elizabethtown, KY 42701


2.227.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Visage Enterprise, Inc
          List the contract number of any                               1601 Elm
                government contract                                     Dallas, TX 75201


2.228.    State what the contract or        Office Space
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Werqwise
          List the contract number of any                               149 New Montgomery, 4th Floor
                government contract                                     San Francisco, CA 94105




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.229.    State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        West Publishing Corporation
          List the contract number of any                               610 Opperman Drive, P.O. Box 64833
                government contract                                     St Paul, MN 55164


2.230.    State what the contract or        Office Space
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Wework
          List the contract number of any                               21255 Burbank Boulevard, Suite 120
                government contract                                     Los Angeles, CA 91367


2.231.    State what the contract or        Investment Banker
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        William Blair & Company, L.L.C.
          List the contract number of any                               150 North Riverside Plaza
                government contract                                     Chicago, IL 60606


2.232.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        WireBee Inc
          List the contract number of any                               8700 Sanctuary Drive
                government contract                                     Mentor, OH 44060


2.233.    State what the contract or        Learning Management
          lease is for and the nature of    System
          the debtor's interest

             State the term remaining
                                                                        WorkRamp, Inc.
          List the contract number of any                               440 N Barranca Ave 3840
                government contract                                     Covina, CA 91723-1722




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2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.234.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        YieldStreet Inc.
          List the contract number of any                               300 Park Avenue, 15th Floor,
                government contract                                     New York, NY 10022


2.235.    State what the contract or        Services Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Yodlee, Inc.
          List the contract number of any                               3600 Bridge Parkway, Suite 200
                government contract                                     Redwood City, CA 94065


2.236.    State what the contract or        Customer Master
          lease is for and the nature of    Services Agreement
          the debtor's interest

             State the term remaining
                                                                        Yotta Savings
          List the contract number of any                               45 East 22nd St, 33B
                government contract                                     New York, NY 10010


2.237.    State what the contract or        Software Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Zendesk, Inc
          List the contract number of any                               Attn: Legal Department 989 Market Street
                government contract                                     San Francisco, CA 94103


2.238.    State what the contract or        Video Conferencing
          lease is for and the nature of    Service
          the debtor's interest

             State the term remaining
                                                                        Zoom Video Communications, Inc
          List the contract number of any                               55 Almaden Blvd, 6th Floor
                government contract                                     San Jose,, CA 95113




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